                       Case 2:22-mj-01675-CW Document 1 Filed 07/20/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01675(1)
                                                            §
(1) Abdul Rahman Rayes-Khil                                 §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about July 11, 2022 in Maverick county, in the WESTERN DISTRICT

OF TEXAS defendant(s) did, intentionally and knowingly failed to enter the United States at a designated

border crossing point and did not report said arrival and present himself and all articles in his possession for

inspection, to wit: a misdemeanor



in violation of Title            19            United States Code, Section(s)     1459(a)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On July 11, 2022, the RAYES-KHIL, ABDUL, entered the United States illegally by wading

across the Rio Grande River from Mexico to Eagle Pass, Texas and failed to report to immigration officials at

an official Port of Entry to avoid scrutiny by officers at the Port of Entry. RAYES-KHIL, was apprehended

shortly after crossing the Rio Grande River and provided a sworn statement to Immigration Officials in which

he admitted that he entered the

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           De Milio, Gregory D.
                                                                           Border Patrol Agent

07/20/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



COLLIS WHITE                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                                WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                              Case Number: DR:22-M -01675(1)

        (1) Abdul Rahman Rayes-Khil

Continuation of Statement of Facts:

United States illegally. Subject was apprehended in Eagle Pass, Texas located in the Western District of Texas."




______________________________
Signature of Judicial Officer                                  Signature of Complainant
